                 Case 2:21-cr-00211-DAD Document 85 Filed 06/14/24 Page 1 of 2


 1 PHILLIP A. TALBERT
   United States Attorney
 2 DAVID W. SPENCER
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

 6 Attorneys for Plaintiff
   United States of America
 7

 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                                     EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:21-CR-00211-DAD
12                                 Plaintiff,             STIPULATION TO CONTINUE JUDGMENT AND
                                                          SENTENCING; ORDER
13                           v.
                                                          DATE: June 18, 2024
14   ARMANDO CHRISTOPHER TABAREZ,                         TIME: 9:30 a.m.
                                                          COURT: Hon. Dale A. Drozd
15                                 Defendant.
16

17                                                STIPULATION

18          Plaintiff United States of America, by and through its counsel of record, and defendant, by and

19 through defendant’s counsel of record, hereby stipulate as follows:

20          1.       By previous order, this matter was set for judgment and sentencing before the Honorable

21 Dale A. Drozd on June 18, 2024.

22          2.       By this stipulation, the defendant now moves to continue the judgment and sentencing
23 until October 8, 2024, for a status re: judgment and sentencing hearing. Plaintiff does not oppose this

24 request.

25          3.       The parties agree and stipulate, and request that the Court find the following:
26                   a.     Armando Christopher Tabarez previously plead guilty.
27                   b.     Counsel for the defendant desires additional time to prepare for judgment and
28          sentencing due to logistical issues and the defense obtaining necessary mitigation information.

      STIPULATION TO CONTINUE JUDGMENT AND                1
30    SENTENCING
                Case 2:21-cr-00211-DAD Document 85 Filed 06/14/24 Page 2 of 2


 1                   c.      The government and probation do not object to the continuance.

 2                   d.      The parties request the judgment and sentencing hearing be continued to October
 3            8, 2024, for a status re: judgment and sentencing hearing.
 4

 5            IT IS SO STIPULATED.
 6

 7
      Dated: June 13, 2024                                    PHILLIP A. TALBERT
 8                                                            United States Attorney
 9
                                                              /s/ DAVID W. SPENCER
10                                                            DAVID W. SPENCER
                                                              Assistant United States Attorney
11

12
      Dated: June 13, 2024                                    /s/ Megan Virga
13
                                                              Megan Virga
14                                                            Ronald Peters
                                                              Counsel for Defendant
15                                                            ARMANDO CHRISTOPHER
                                                              TABAREZ
16

17

18
                                                    ORDER
19         The court, having read and considered the above stipulation of the parties, and good cause
20 appearing therefrom, adopts the stipulation of the parties in its entirety as its order. The Court orders the
21 presently set June 18, 2024, judgment and sentencing shall be continued to October 8, 2024, at 9:30
   a.m., for a status re: judgment and sentencing hearing.
22

23            IT IS SO ORDERED.
24
     Dated:     June 13, 2024
25                                                      DALE A. DROZD
                                                        UNITED STATES DISTRICT JUDGE
26
27

28

      STIPULATION TO CONTINUE JUDGMENT AND                2
30    SENTENCING
